r                                  Case 1:15-cv-02840-PAC Document 3 Filed 06/30/15 Page 1 of 1

        u.s. DISTRICT COURT OF THE STATE OF NEW YORK                                                                        INDEX #: 15 CV 2840
        SOUTHERN-NY COUNTY
        Attorneys: Company: Bruce Colfin Law Pc PH: (212) 691-5630                                                          Date Filed: 04/13/2015
        Address: 1178 Broadway Ste 312 New York, NY 10001
                                                                                                                            Client's   File No.:

                                                                      DAVID CORTORREAL

                                                                          vs                                                                                 Plaintiff

                                                       ERIC WYTIAZ, JARED GAETA, MAIDA SCOTT

                                                                                                                                                          Defendant


        STATE OF        CD lo m&0                        ,COUNTY     OF     bl                               ss.        AFFIDAVIT OF SERVICE
             ~Q     C {' ~        @ro±s cnGl a                                   ,be'   g duly sworn deposes and says:
        Deponent is not      party herein, is over 18 years of ag~ 0                               -( _                         at       I ~a5 pm
        at        a0             e.~a... V'   ill,)   CCiu.r-+- i:» tom                               ~                           deponent served ~he within

                                         SUMMONS AND COMPLAINT               IN A CIVIL ACTION


        on:====--='-...:=====-                __                                        -=--
                                                      M~A!:!.!ID:!J.A~cS~-~C~O~l,::!::r~=-                             --"D:o.::e'-!:fe"-!n-'-"eJ,.."a"'n-'---
                                                                                                                                            __        therein named.



     #1 INDI~AL        By delivering a true copy of each to said recipient personally; deponent ~new t~ person served to)J~th~erson                              .
             A         described as said person therein.        V
                                                              -AJf' ~<:.Rx-VI,QL,              f\'\V\.~
                                                                                               00\... ~cl.att I S~l                                      'f\G'lV\\.Q...
                             l5 inC'fl"\,LQ.,+,            '-.JJKcH-he,?'~Mm~ IS
    #2 CORPORATION By delivering thereat a true copy (if each to
                                                                                                     re.edlJ±         (Y\~('lCx.. SCb                .
                                                                                                                                  and that deponent knew
           D       the person so served to be the                                                                   of the corporation, and authorized to
                   to accept service on behalf of the corporation.

     #3 SUITABLE By delivering a true copy of each to                                                           a person of suitable age and discretion.
      AGE PERSON Said premises is recipient's [ 1 actual place of business                      1 dwelling   house (usual place of abode) within the state.
             D
      #4 AFFIXING      By affixing a true copy of each to the door of said premises, which is recipient's:             [ 1 actual    place of business
         TO DOOR       [ 1 dwelling   house (place of abode) within the state.
             D
                       Deponent was unable, with due diligence to find recipient or a person of suitable age and discretion, having called
                       thereat on the                    day of                                           at                   _
                               on the                    day of                                           at                   _
                               on the                    day of                                           at                   _
                               on the                    day of                                           at                   _

     #5 MAIL COPY      On                              , deponent completed service under the last two sections by depositing a copy of the
                       __________________________                                                     to the above address in a 1st Class
             D         postpaid properly addressed envelope marked "Personal and Confidential" in an official depository under the exclusive
                       care and custody of the United States Post Office in the State of                             _
                       D and by Certified Mail #                                     .

       #6 NON-SRVC After due search, careful inquiry and diligent attempts, I have been unable to effect process upon the person/entity
            D      being served because of the following:     [ 1 Unknown at Address        [1 Evading        [1 Moved left no forwarding
                   [ 1 Address does not exist         [1 Other:                                                                                                       _

     #7 DESCRIPTION A descri tion of the Defendant, or other persen served, or sppken to n behalf of the Defendant is as follow~  I U II
             .D            Sex.     le.. Color of skin:        M
                                                            I 'X:.e...tX, ~olor of hair: b     Age:                   Height: --"D~--<~                               _
       (use with #1, 20r3) Weight:             t
                                              $.. Other Features: 'VvO                     ;..  nD        tl                 S-..e                           .
     #8 WITrrES        Subpoena Fee Tendered in the amount of

    #9 MILITARYSRVC Deponent asked person spoken to whether the recipient was presently in military service of the United States Government or of the State
            D       of                            and was informed that recipient was not. Recipient wore ordinary civilian clothes and no military uniform.

      #10 OTHER
             D

                                                                          NOTARY PUBLIC
                                       c!t'  ,
       Sworn to before me on            .~[ ~ - (                     _



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                                        ..
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                                      P c.
                                           ~~;~io~o~~~:~O
                                        I\.b 1\          MY COMMISSION EXPIRES NOVEMBER 10, 2017
